       Case 1:22-cv-03403-AT-RDC Document 1-2 Filed 08/23/22 Page 1 of 2
           AT RDC 530 28:2241st

                                                                                    1:22-CV-3403         II
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                                     CIVIL COVER SHEET FOR A PRISONER C~SE

JUDGE        NIA                                                                          DIVISlbN                  A+J(fa\.1(f\.
MAG. JUDGE        ~~                                                                      IFP       YlS                                FEE
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JURISD                                                                                     DESCRIPTION
                                                                                           '
   3               530                _28:2254                            Habeas action by a STATE prisoner challenging state
                                                                                                         I
                                                                          convictions or sentence.
                                                                                            I
   3               535                _28:2254d                           Habeas action by a STATE prisoner under a DEATH
                                                                                                          I
                                                                          sentence.                     SEND TO DISTRICT JUDGE.
   3               530                _28:2241 st                         Habeas action by~ STATE prisoner or detainee
                                                                                           '
                                                                          challenging matters other than conviction or sentence
                                                                          (e.g. parole revoc?tion, loss of good time-credit, etc.)
   2               530                 _28 :2241fd                        Habeas action by a FEDERAL prisoner or detainee
                                                                                           1
                                                                          challenging matte rs other than conviction or sentence
                                                                          (e.g. parole revodtion, loss of good time-credit, etc.)
   3                550                _42:1983pr                         STATE or FEDERAl prisoner civil rights action suing
                                                                          State officials not involving prison conditions.
                                                                          A/K/A BIVENS acti;on.
   2                550               _28:1331pr                          Prisoner civil rights action suing Federal officials not
                                                                          Involving prison c6nditions. A/K/ A BIVENS action.
   3                555               _42:1983pr                          STATE prisoner dil rights action involving prison
                                                                          conditions.
                                                                                              1
   2                555               _28:1331pr                          Prisoner civil rights action suing Federal officials
                                                                          Involving prison conditions. A/K/A Bivens action .
   2                540               _28:1346                            Prisoner Federal Tort Claim. (Against U.S.)
                                                                                                          I
   2                540               _28:1361pr                          Action to compel U.S. officer to perform a duty
                                                                          MANDAMUS.
   4               540                _28:1332                            Any prisoner action based on diversity.
                   540                                                     OTHER:                         f




          DOCKET CLERK: Place cover sheet on top of docket sheet and file. F(?RWARD to Magistrate Judge
          Assigned for IFP and/or frivolity determinations.


_ _ STAFF LAW CLERK:
         _ _ Pauper's affidavit insufficient or no affidavit
         _ _Complaint or petition not signed or is incomplete
         _ _ No copies
         _ _Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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